

Criss v City of New York (2021 NY Slip Op 06436)





Criss v City of New York


2021 NY Slip Op 06436


Decided on November 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 18, 2021

Before: Webber, J.P., Kern, González, Mendez, Shulman, JJ. 


Index No. 300619/11 Appeal No. 14627 Case No. 2021-01920 

[*1]Sheila H. Criss et al., Plaintiffs-Respondents,
vThe City of New York et al., Defendants-Appellants.


Harris Beach PLLC, New York (Andrew J. Orenstein of counsel), for appellants.
Jaroslawicz &amp; Jaros PLLC, New York (David Tolchin of counsel), for respondents.



Order, Supreme Court, Bronx County (Wilma Guzman, J.), entered on or about December 3, 2020, which granted plaintiffs' motion for summary judgment as to liability, unanimously affirmed, without costs.
Plaintiffs established prima facie that defendants created a dangerous condition on their premises, i.e., the wet condition on the floor of a hallway, on which plaintiff Sheila Criss slipped and fell (see PeÑa v Tyrax Realty Mgt., Inc., 150 AD3d 440 [1st Dept 2017]). A witness testified that at the time of the accident the floor was being mopped by an inmate and there were no warning signs in the area. Another witness, who arrived on the scene while plaintiff was still on the floor, also testified to the wet condition and the absence of warning signs.
In opposition, defendants failed to present evidence sufficient to raise an issue of fact as to their negligence. The variation between the witnesses' descriptions of the liquid on the floor does not rebut plaintiff's showing that the liquid was the cause of her slip and fall.
We have considered defendants' remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 18, 2021








